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                    IN THE UNITED STATES DISTRICT COURT

                        FOR THE DISTRICT OF HAWAII

 ANDREW NAMIKI ROBERTS,         )          CIV. NO. 18-00125 HG-RT
                                )
                Plaintiff,      )
                                )
           vs.                  )
                                )
 CLARE CONNORS, in her Official )
 Capacity as Attorney General   )
 for the State of Hawaii; AL    )
 CUMMINGS, in his Official      )
 Capacity as the State Sheriff )
 Division Administrator,        )
                                )
                Defendants.     )
                                )
                                )

      THE DISTRICT COURT’S RESPONSE TO THE NINTH CIRCUIT COURT OF
                      APPEALS’ MAY 13, 2021 ORDER

 I.    BACKGROUND

        On June 6, 2012, Plaintiff George K. Young, Jr., proceeding

 pro se, filed a complaint before this Judge against the State of

 Hawaii, raising a question as to the application of the Second

 Amendment to the United States Constitution.          (Young v. State of

 Hawaii, 12-cv-00336 HG-BMK, ECF No. 1).

        On November 29, 2012, this Court granted a Motion to Dismiss

 filed by the Defendants in Young v. State of Hawaii. (12-cv-00336

 HG-BMK, ECF No. 42).

        On December 21, 2012, Young appealed this Court’s decision

 to the Ninth Circuit Court of Appeals with the assistance of

 Attorney Alan A. Beck.      (Young v. Hawaii, 12-cv-00336 HG-BMK, ECF

 No. 47).


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       On April 2, 2018, Plaintiff Andrew Roberts, represented by

 Attorney Alan A. Beck and Attorney Stephen D. Stamboulieh, filed

 the instant case, Roberts v. Connors, 18-cv-00125 HG-RT, also

 raising a Second Amendment challenge to a Hawaii statute.

 (Roberts, ECF No. 1).

       On April 2, 2018, the Young case remained undecided by the

 Ninth Circuit Court of Appeals.        Mr. Young was now represented by

 Attorneys Beck and Stamboulieh.        Attorneys Beck and Stamboulieh

 have continued to represent both Mr. Young and Plaintiff Roberts

 through the present time.

       On July 24, 2018, a divided three-judge panel decision was

 issued by the Ninth Circuit Court of Appeals in Young, No. 12-

 17808, 915 F.3d 681 (9th Cir. 2019).         The order reversed this

 Court’s decision dismissing the case.         (Young v. Hawaii, 12-cv-

 00336 HG-BMK, ECF No. 58).

       On February 8, 2019, the Ninth Circuit Court of Appeals

 granted a request for rehearing en banc in Young.           (Young v.

 Hawaii, 12-cv-00336 HG-BMK, ECF No. 66).

       On February 14, 2019, the Ninth Circuit Court of Appeals

 stayed the en banc hearing of Young pending a decision by the

 United States Supreme Court in New York State Rifle & Pistol

 Assoc., Inc. v. City of New York, 18-280.         (Young v. Hawaii, 12-

 cv-00336 HG-BMK, ECF No. 68).

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       On August 2, 2019, the appellate en banc hearing in Young

 was stayed pending the Supreme Court decision in New York Rifle.

 In the Roberts case before this Court, Attorneys Beck and

 Stamboulieh filed a Motion for Summary Judgment on behalf of

 Plaintiff Roberts and on September 4, 2019, Defendants filed a

 Motion for Summary Judgment.       (Roberts, ECF Nos. 51 & 54).

       On November 26, 2019, this Court held a hearing on the

 Parties’ Motions for Summary Judgment.         At the conclusion of the

 hearing, the Court elected to stay the proceedings, as had the

 Appellate Court in the en banc proceedings in Young.             (Roberts,

 ECF No. 71).     Both this Court and the Appellate Court were

 looking for guidance as to the question of what level of scrutiny

 applies to a challenge to a statute pursuant to the Second

 Amendment to the United States Constitution which was set to be

 decided by the United States Supreme Court in New York State

 Rifle & Pistol Assoc., Inc. v. City of New York, 18-280.

       On April 27, 2020, the United States Supreme Court remanded

 proceedings to the United States Court of Appeals for the Second

 Circuit in New York State Rifle, in a two-page per curiam

 opinion, finding the appeal moot.

       On June 17, 2019, this Judge elected to continue the stay in

 Roberts pending the Ninth Circuit Court of Appeals’ en banc

 decision in Young.      (Roberts, ECF No. 79).      In addition, this

 Court was informed that the Hawaii State Legislature introduced

 Senate Bill 2292 that was intended to repeal the statute at issue


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 in this case.     (Id.)

       On August 14, 2020, this Court continued the stay in Roberts

 pending the Young decision, and the Hawaii Legislature did not

 pass the legislation in Senate Bill 2292.         (Roberts, ECF No. 82).

       On March 24, 2021, the Ninth Circuit Court of Appeals issued

 its divided en banc decision in Young v. Hawaii, 992 F.3d 765

 (9th Cir. Mar. 24, 2021) (en banc).        The en banc decision in

 Young affirmed this Court’s order dismissing the plaintiff’s

 Second Amendment challenge to the Hawaii statute.           The en banc

 decision analyzed the “historical understanding of the scope of

 the right” and found no Second Amendment violation.              Id. at 826.

       On the same date, Attorneys Beck and Stamboulieh filed a

 Motion to Lift the Stay on behalf of Plaintiff Roberts.

 (Roberts, ECF No. 84).

       On March 25, 2021, the District Court issued a Minute Order

 denying Plaintiff Roberts’ Motion to Lift the Stay because the

 Young proceedings had not concluded.         (Roberts, ECF No. 85).

       On March 26, 2021, Attorneys Beck and Stamboulieh, on behalf

 of Plaintiff Roberts, filed a Notice of Appeal of the denial of

 the Motion to Lift the Stay to the Ninth Circuit Court of

 Appeals.    (Roberts, ECF No. 86).

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       On April 26, 2021, the United States Supreme Court granted

 certiorari in New York State Rifle & Pistol Assoc. v. Corlett,

 No. 20-843, 2021 WL 1602643 (U.S. Apr. 26, 2021) that again

 raises the issue as to what standard of review applies to a

 Second Amendment challenge.

       On May 11, 2021, Attorneys Beck and Stamboulieh, in the

 Young case, submitted a Petition for Writ of Certiorari to the

 United States Supreme Court seeking review of the Ninth Circuit

 Court of Appeals en banc decision.        Pet. for Writ of Cert., Young

 v. Hawaii, 20-1638 (U.S. May 11, 2021).

 II.   ON MAY 13, 2021, THE NINTH CIRCUIT COURT OF APPEALS ISSUED
       AN ORDER REMANDING PROCEEDINGS TO THE DISTRICT COURT

       The Appellate Court stated:

       [F]or the limited purpose of allowing the district court
       to reconsider its decision and to set forth its reasons
       for whatever decision it reaches, so that we can
       properly exercise our powers of review....Within 30 days
       after the date of this order, the district court should
       issue its ruling on remand.

       (Roberts, ECF No. 90) (internal quotation and citation
       omitted).

       On May 24, 2021, the State of Hawaii Defendants filed their

 Opposition to Plaintiff’s Motion to Lift the Stay.           (Roberts, ECF

 No. 93).

       In their Opposition, the State of Hawaii Defendants reported

 that as of May 17, 2021, a bill that would repeal and replace

 Hawaii’s electric gun statute and would potentially moot the

 present case has been passed by both houses of the Hawaii State

 Legislature and is awaiting signature by the Governor.            (See Ex.

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 C, attached to Defs.’ Opp, HB 891 Measure Status, Hawaii State

 Legislature, Roberts, ECF No. 93-4).         According to Defendants,

 the Governor has until July 6, 2021 to sign the legislation.

 (Defs.’ Opp. at p. 16, Roberts, ECF No. 93).

       On May 26, 2021, Attorneys Beck and Stamboulieh, on behalf

 of Plaintiff Roberts, filed a Reply outlining the arguments on

 behalf of lifting the stay.       (Roberts, ECF No. 94).

 III. THE COURT ELECTS TO CONTINUE THE STAY

       The District Court elects to continue to stay the

 proceedings in this case for three reasons:

       First, the District Court believes a stay is appropriate in

 order for the United States Supreme Court to address the standard

 of review that applies to a Second Amendment challenge, which is

 before the Court in New York State Rifle & Pistol Assoc. v.

 Corlett, No. 20-843, 2021 WL 1602643 (U.S. Apr. 26, 2021).

       Second, the District Court also stays proceedings pending

 the decision by the United States Supreme Court on the

 application for a writ of certiorari seeking review of the en

 banc decision by the Ninth Circuit Court of Appeals in Young v.

 State of Hawaii, No. 12-17808, affirming this Court’s dismissal

 of a Second Amendment challenge.          See Pet. for Writ of Cert.,

 Young v. Hawaii, 20-1638 (U.S. May 11, 2021).

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        Third, the District Court stays proceedings to allow the

 Governor to review HB 891, which Defendants represent would

 repeal and replace the Hawaii electric gun statute that is at

 issue in this case.      (Defs.’ Opp. at pp. 16-17, Roberts, ECF No.

 93).

        DATED: June 2, 2021, Honolulu, Hawaii.




 Andrew Nakimi Roberts v. Clare Connors, in her Official Capacity
 as Attorney General of the State of Hawaii; Al Cummings, in his
 Official Capacity as the State Sheriff Division Administrator,
 18-cv-00125 HG-RT; THE DISTRICT COURT’S RESPONSE TO THE NINTH
 CIRCUIT COURT OF APPEALS’ MAY 13, 2021 ORDER
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